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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

 CHANCE WILSON, individually and on                 Case No. 24-cv-2276
 behalf of all others similarly situated,
                                                    CLASS ACTION
                Plaintiff,
                                                    JURY TRIAL DEMANDED
 v.

 CONSUMER LEGAL GROUP P.C.

 AND

 PHOENIX DEBT PROS, INC.

                Defendants.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Chance Wilson (“Plaintiff” or “Mr. Wilson”) brings this Class Action Complaint

and Demand for Jury Trial against Defendants Consumer Legal Group P.C. and Phoenix Debt

Pros, Inc. (“Defendant(s),” “Consumer,” or “Phoenix”) and alleges as follows:

       1.      Telemarketing calls are intrusive. A great many people object to these calls,

which interfere with their lives, tie up their phone lines, and cause confusion and disruption on

phone records. Faced with growing public criticism of abusive telephone marketing practices,

Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105

Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response

to Americans ‘outraged over the proliferation of intrusive, nuisance calls to their homes from

telemarketers’ id. § 2(6), and sought to strike a balance between ‘[i]ndividuals’ privacy rights,

public safety interests, and commercial freedoms’ id. § 2(9).

       2.      “The law opted for a consumer-driven process that would allow objecting

individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations
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was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry

stands out as a model of clarity. It means what it says. If a person wishes to no longer receive

telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an

abusive telemarketing act or practice and a violation of this Rule for a telemarketer to . . .

initiat[e] any outbound telephone call to a person when . . . [t]hat person’s telephone number is

on the “do-not-call” registry, maintained by the Commission.’)…Private suits can seek either

monetary or injunctive relief. Id…This private cause of action is a straightforward provision

designed to achieve a straightforward result. Congress enacted the law to protect against

invasions of privacy that were harming people. The law empowers each person to protect his

own personal rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA

affords relief to those persons who, despite efforts to avoid it, have suffered an intrusion upon

their domestic peace.” Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

         3.    The Plaintiff brings this action to enforce the consumer-privacy provisions of the

TCPA alleging that Consumer and Phoenix violated the TCPA by making telemarketing calls to

Plaintiff and other putative class members listed on the National Do Not Call Registry without

their written consent as well as calling people who had previously asked to no longer receive

calls.

                                            PARTIES

         4.    Plaintiff Chance Wilson is an individual residing in Nevada.

         5.    Defendant Consumer Legal Group P.C. is a corporation incorporated in Kings

County, NY and having its principal place of business in this District.




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       6.      Defendant Phoenix Debt Pros, Inc. is a telemarketer and lead generator that

Consumer hired to generate leads for it. It is incorporated and has its principal place of business

in Glendale, California.

                                 JURISDICTION AND VENUE

       7.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 47

U.S.C. § 227 et seq.

       8.      This Court has general personal jurisdiction over Consumer because the company

has its headquarters and principal place of business in this District. This Court has specific

personal jurisdiction over Phoenix because it contracted with Consumer to place telemarketing

calls nationwide on Consumer’s behalf, including into New York.

       9.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the telephone calls at

issue were orchestrated and sent from this District, and therefore a substantial part of the events

giving rise to the claim occurred in this District.

                                          BACKGROUND

A.     The TCPA Prohibits Calls to Numbers on the National Do Not Call Registry.

       10.     The TCPA prohibits making multiple telemarketing calls to a residential

telephone number that has previously been registered on the National Do Not Call Registry. See

47 U.S.C. § 227(c)(5).

       11.     The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).




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       12.     A listing on the National Do Not Call Registry “must be honored indefinitely, or

until the registration is cancelled by the consumer or the telephone number is removed by the

database administrator.” Id.

       13.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers on the Registry and provide a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are promoted. 47

U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

                                   FACTUAL ALLEGATIONS
       14.     The Plaintiff is, and at all times mentioned herein was, a “person” as defined by

47 U.S.C. § 153(39).

       15.     At no point did the Plaintiff consent to receiving telemarketing calls from the

Defendants prior to receiving the automated calls at issue.

       16.     Plaintiff’s telephone number, (805) XXX-XXXX, is a residential, non-

commercial telephone number.

       17.     Plaintiff uses the telephone number for her own personal, residential, and

household needs and reasons.

       18.     Plaintiff does not use the number for business reasons or business use.

       19.     The number is assigned to a residential telephone exchange service for consumers

and is not assigned to a telephone exchange service for businesses.

       20.     Plaintiff’s telephone number has been listed on the National Do Not Call Registry

since he listed it there in October 2023.

       21.     Plaintiff has never been a customer of Consumer and never consented to receive

calls from Consumer.




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       22.     The calls were made to pitch the Plaintiff to purchase Consumer’s debt relief and

other legal services.

       23.     Despite this, the Plaintiff received at least two calls from Consumer on at least

March 4, 2024 from the caller IDs 805-229-7119 and 805-485-2450.

       24.     During the first call, which came from the illegally and fictitiously named

“National Debt Relief,” the Plaintiff spoke to an individual named “Liam,” and was transferred

to an individual named “Claire,” indicated that he was not interested and not to call.

       25.     Unsurprisingly, the Defendants continued to call. Specifically, that same day, the

Plaintiff received another call from “National Debt Relief.” During that call, the Plaintiff spoke

to an individual named “Roy Miller” who was revealed to be from Defendant Phoenix Debt Pros.

       26.     Subsequently, Mr. Miller emailed the Plaintiff and explained that they are a

“management company partnered with Consumer Legal Group,” and that Defendant Consumer

doesn’t “have the time and resources to handle the volume of in-coming calls.”

       27.     Mr. Miller went on to explain, “Phoenix Debt Pros manages the enrollment

process and filters the call volume for CLG using their portal.”

       28.     For more than twenty years, the FCC has explained that its “rules generally

establish that the party on whose behalf a solicitation is made bears ultimate responsibility for

any violations.” In re Rules and Regulations Implementing the Telephone Consumer Protection

Act, 10 FCC Rcd. 12391, 12397 ¶ 13 (1995).

       29.     In 2008, the FCC likewise held that a company on whose behalf a telephone call

is made bears the responsibility for any violations.

       30.     The FCC has instructed that sellers such as Consumers may not avoid liability by

outsourcing telemarketing to third parties, such as Phoenix:




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        [A]llowing the seller to avoid potential liability by outsourcing its telemarketing activities
to unsupervised third parties would leave consumers in many cases without an effective remedy
for telemarketing intrusions. This would particularly be so if the telemarketers were judgment
proof, unidentifiable, or located outside the United States, as is often the case. Even where third-
party telemarketers are identifiable, solvent, and amenable to judgment, limiting liability to the
telemarketer that physically places the call would make enforcement in many cases substantially
more expensive and less efficient, since consumers (or law enforcement agencies) would be
required to sue each marketer separately in order to obtain effective relief. As the FTC noted,
because “sellers may have thousands of ‘independent’ marketers, suing one or a few of them is
unlikely to make a substantive difference for consumer privacy.”

        In re DISH Network, LLC, 28 FCC Rcd. 6574, 6588 ¶ 37 (2013) (footnotes and alteration

marks omitted).

        31.    In 2013, the FCC held that a corporation or other entity that contracts out its

telephone marketing “may be held vicariously liable under federal common law principles of

agency for violations of either section 227(b) or section 227(c) that are committed by third-party

telemarketers.” Id. at 6574 ¶ 1.

        32.    Consumers is liable for telemarketing calls placed by Phoenix and transferred to

Consumers and its agents to generate customers for Consumers and its agents, including the

Plaintiff.

        33.    Consumers was interested in hiring a lead generator that could make phone calls

to potential customers, vet potential clients, and only sell them the interested ones.

        34.    To do so, it hired Phoenix to orchestrate an en masse telemarketing campaign.

        35.    Indeed, by Mr. Miller’s own admission, Consumers did not have the resources to

conduct telemarketing on a mass schedule, so it hired Phoenix to filter out only the interested

clients and send Consumers those who were interested.

        36.    Consumers controlled the day-to-day activities of Phoenix by providing the

specific criteria for the leads it would accept and required its vendors, including Phoenix, to

adhere to those criteria, as evidenced by Phoenix’s own admissions.


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       37.     Consumers also instructed Phoenix to attempt to salvage potentially interested

customers by incessantly calling them again and again, and ignoring do not call requests, until

such point as they confirmed that the buyer was interested in Consumers’ services and Phoenix

sent the consumers an email with a sales pitch.

       38.     Defendants did so despite numerous explicit indications that the Plaintiff was not

interested and did not want any further calls.

       39.     As such, Consumers controlled the content of Phoenix’s telemarketing.

       40.     It also could and should have communicated Plaintiff’s multiple requests not to be

called to Phoenix.

       41.     Phoenix, likewise, could and should have communicated Plaintiff’s multiple

requests not to be called to Consumers.

       42.     Finally, Consumers could have terminated Phoenix.

       43.     It did not.

       44.     By virtue of identifying the leads that they would accept and directing the conduct

and other indicia of the calls at issue described above, Consumers directed the content of the

communications that Phoenix would use in their calling.

       45.     A reasonable seller whose telemarketers are making calls would investigate into

the reasons why they would be calling numbers on the National Do Not Call Registry and,

moreover, individuals who already stated that they no longer wished to receive calls from

Consumers or Phoenix.

       46.     Indeed, Consumers could have investigated if the transfers it received were on the

National Do Not Call Registry.

       47.     It did not.




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       48.     Consumers hired Phoenix without a proper investigation and did not terminate

them when they were informed of Phoenix’s illegal calling conduct.

       49.     As such, they knowingly ratified Phoenix’s conduct.

       50.     Consumers also ratified Phoenix’s conduct because, with knowledge of Plaintiff’s

complaints against Consumers and do not call requests to a Consumers agent, they accepted the

Plaintiff’s lead and ultimately sold the Plaintiff a policy.

       51.     Consumers accepted the Plaintiff’s lead and then utilized it for a benefit by

continuing to promote its services to him after he made clear he did not want the calls.

       52.     The 2013 FCC ruling holds that called parties may obtain “evidence of these

kinds of relationships . . . through discovery, if they are not independently privy to such

information.” In re DISH Network, 28 FCC Rcd. 6592-93 ¶ 46. Evidence of circumstances

pointing to apparent authority on behalf of the telemarketer “should be sufficient to place upon

the seller the burden of demonstrating that a reasonable consumer would not sensibly assume

that the telemarketer was acting as the seller’s authorized agent.” Id. at 6593 ¶ 46.

       53.     Plaintiff’s privacy has been violated by the above-described telemarketing calls.

       54.     Plaintiff never provided his consent or requested these calls.

       55.     The aforementioned calls to the Plaintiff were unwanted.

       56.     The calls were non-consentual encounters.

       57.     Plaintiff and all members of the Class, defined below, have been harmed by the

acts of Defendants because their privacy has been violated and they were annoyed and harassed.

In addition, the calls occupied their telephone lines, rendering them unavailable for legitimate

communication, including while driving, working, and performing other critical tasks.




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                               CLASS ACTION ALLEGATIONS
        58.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

        59.     Plaintiff brings this action on behalf of himself and the following class (the

“Class”) pursuant to Federal Rule of Civil Procedure 23.


                National DNC Class: All persons in the United States whose (1)
                telephone numbers were on the National Do Not Call Registry for
                at least 31 days, (2) but who received more than one telemarketing
                call from or on behalf of Defendants encouraging the purchase of
                Consumer’s goods or services, (3) within a 12-month period (4) at
                any time in the period that begins four years before the date of
                filing this Complaint to trial.

        60.     Numerosity: The exact number of Class members is unknown but based on the

en masse nature of telemarketing is believed to be at least hundreds of persons at this time, and

individual joinder in this case is impracticable. Class members can be easily identified through

Defendants’ records, or those of their agents.

        61.     Typicality: Plaintiff’s claims are typical of the claims of other Class members in

that Plaintiff, and Class members, sustained damages arising out of Defendants’ telemarketing

calls and Class members sustained similar injuries and damages as a result of Defendants’

uniform illegal conduct.

        62.     Adequacy: Plaintiff will fairly and adequately represent and protect the interests

of the Class and has retained counsel competent and experienced in complex class actions to

vigorously prosecute this action on behalf of the Class. Plaintiff has no interests that conflict

with, or are antagonistic to those of, the Class, and Defendants have no defenses unique to

Plaintiff.

        63.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and members of the Class, and those questions predominate


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over any questions that may affect individual members of the Class. Common questions for the

Class include, but are not necessarily limited to, the following:

               a.        Whether Defendants obtained “prior express invitation or permission”

under the TCPA, before the calls at issue;

               b.        Whether Defendants have established and implemented, with due care,

reasonable practices and procedures to effectively prevent telephone solicitations in violation of

the TCPA’s do-not-call regulations;

               c.        Whether Consumers should be held liable for violations Phoenix may have

made on its behalf; and

               d.        Damages, including whether any violations were performed willfully or

knowingly, such that Plaintiff and the other Class members are entitled to treble damages under

47 U.S.C. § 227(c)(5).

       64.     Superiority: Class action treatment is superior to the alternatives for the fair and

efficient adjudication of the controversy alleged herein. Such treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the duplication of effort and expense that numerous

individual actions would entail. There are hundreds of Class members, such that joinder of all

members is impracticable.

       65.     In addition to satisfying the prerequisites of FED. R. CIV. P. 23(a), Plaintiff

satisfies the requirements for maintaining a class action under FED. R. CIV. P. 23(b) because:

               a.        The prosecution of separate actions by the individual Class members

would create a risk of inconsistent or varying adjudication which would establish incompatible

standards of conduct for Defendants;




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               b.      The prosecution of separate actions by individual Class members would

create a risk of adjudications with respect to them which would, as a practical matter, be

dispositive of the interests of other Class members not parties to the adjudications, or

substantially impair or impede their ability to protect their interests;

               c.      Defendants have acted or refused to act on grounds that apply generally to

the proposed Class, thereby making final injunctive relief or declaratory relief herein appropriate

with respect to the proposed Class as a whole; and

               d.      Questions of law or fact common to the members of the Class predominate

over any questions affecting only individual members, and that a class action is superior to other

available methods for the fair and efficient adjudication of the controversy.

                                           COUNT I
                           Violations of the TCPA, 47 U.S.C. § 227
                      (On Behalf of Plaintiff and the National DNC Class)

       66.     Plaintiff realleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs.

       67.     It is a violation of the TCPA to initiate any telephone solicitation to a residential

telephone subscriber who has registered his or her telephone number on the National Do Not

Call Registry. 47 C.F.R. 64.1200(c)(2).

       68.     Defendants and/or their affiliates, agents, and/or other persons or entities acting

on Defendants’ behalf violated the TCPA by causing multiple telephone solicitation calls to be

initiated to Plaintiff and members of the National DNC Class in a 12-month period, despite the

person’s registration of his or her telephone numbers on the National Do Not Call Registry.

       69.     These violations were willful or knowing.




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       70.     As a result of Defendants and/or their affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf’s violations of the TCPA’s national do-not-call rule,

Plaintiff and members of the National DNC Class are each entitled to an injunction and up to

$500 in damages for each such violation. 47 U.S.C. § 227(c)(5).

       71.     Because such violations were willful or knowing, the Court should treble the

amount of statutory damages, pursuant to 47 U.S.C. § 227(c)(5).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the National DNC Class,

respectfully request that the Court enter judgment against Defendants for:

       A.      Certification of the National DNC Class as alleged herein;

       B.      Appointment of Plaintiff as representative of the Class;

       C.      Appointment of the undersigned as counsel for the Class;

       D.      Damages to Plaintiff and members of the National DNC Class pursuant to

47 U.S.C. § 227(c)(5);

       E.      Injunctive relief for Plaintiff and members of the National DNC Class, pursuant to

47 U.S.C. § 227(c)(5), preventing the Defendants from making calls to numbers listed on the

National Do Not Call Registry;

       F.      Attorneys’ fees and costs, as permitted by law; and

       G.      Such other or further relief as the Court deems just and proper.




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                              DEMAND FOR JURY TRIAL

     Plaintiff hereby demands a trial by jury.



     RESPECTFULLY SUBMITTED AND DATED this 28th day of March, 2024.


                                           s/ Anthony I. Paronich_______________
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